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                            FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


        NIMESH PATEL, Individually and                   No. 18-15982
        on Behalf of All Others Similarly
        Situated; ADAM PEZEN; CARLO                       D.C. No.
        LICATA,                                       3:15-cv-03747-JD
                      Plaintiffs-Appellees,

                           v.                              OPINION

        FACEBOOK, INC.,
                    Defendant-Appellant.


               Appeal from the United States District Court
                  for the Northern District of California
                 James Donato, District Judge, Presiding

                    Argued and Submitted June 12, 2019
                         San Francisco, California

                             Filed August 8, 2019

          Before: Ronald M. Gould and Sandra S. Ikuta, Circuit
             Judges, and Benita Y. Pearson,* District Judge.

                            Opinion by Judge Ikuta


           *
            The Honorable Benita Y. Pearson, United States District Judge for
       the Northern District of Ohio, sitting by designation.
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                                  SUMMARY**


                Standing / Class Certification / Illinois Law

           The panel affirmed the district court’s order certifying a
       class under Fed. R. Civ. P. 23 of users of Facebook, Inc., who
       alleged that Facebook’s facial-recognition technology
       violated Illinois’s Biometric Information Privacy Act
       (“BIPA”).

           The panel held that plaintiffs alleged a concrete and
       particularized harm, sufficient to confer Article III standing,
       because BIPA protected the plaintiffs’ concrete privacy
       interest, and violations of the procedures in BIPA actually
       harmed or posed a material risk of harm to those privacy
       interests. Specifically, the panel concluded that the
       development of a face template using facial-recognition
       technology without consent (as alleged in this case) invades
       an individual’s private affairs and concrete interests.

            The panel held that the district court did not abuse
       its discretion in certifying the class. Specifically, the panel
       rejected Facebook’s argument that Illinois’s extraterritoriality
       doctrine precluded the district court from finding
       predominance. The panel further held that the district court
       did not abuse its discretion in determining that a class action
       was superior to individual actions in this case.




           **
             This summary constitutes no part of the opinion of the court. It has
       been prepared by court staff for the convenience of the reader.
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                                OPINION

       IKUTA, Circuit Judge:

            Plaintiffs’ complaint alleges that Facebook subjected
       them to facial-recognition technology without complying
       with an Illinois statute intended to safeguard their privacy.
       Because a violation of the Illinois statute injures an
       individual’s concrete right to privacy, we reject Facebook’s
       claim that the plaintiffs have failed to allege a concrete
       injury-in-fact for purposes of Article III standing.
       Additionally, we conclude that the district court did not abuse
       its discretion in certifying the class.

                                      I

           Facebook operates one of the largest social media
       platforms in the world, with over one billion active users.
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       Packingham v. North Carolina, 137 S. Ct. 1730, 1735 (2017).
       About seven in ten adults in the United States use Facebook.1

                                       A

           When a new user registers for a Facebook account, the
       user must create a profile and agree to Facebook’s terms and
       conditions, which permit Facebook to collect and use data in
       accordance with Facebook’s policies. To interact with other
       users on the platform, a Facebook user identifies another user
       as a friend and sends a friend request. If the request is
       accepted, the two users are able to share content, such as text
       and photographs.

            For years, Facebook has allowed users to tag their
       Facebook friends in photos posted to Facebook. A tag
       identifies the friend in the photo by name and includes a link
       to that friend’s Facebook profile. Users who are tagged are
       notified of the tag, granted access to the photo, and allowed
       to share the photo with other friends or “un-tag” themselves
       if they choose.

           In 2010, Facebook launched a feature called Tag
       Suggestions. If Tag Suggestions is enabled, Facebook may
       use facial-recognition technology to analyze whether the
       user’s Facebook friends are in photos uploaded by that user.
       When a photo is uploaded, the technology scans the photo
       and detects whether it contains images of faces. If so, the
       technology extracts the various geometric data points that
       make a face unique, such as the distance between the eyes,


           1
             See John Gramlich, 10 Facts about Americans and Facebook, Pew
       Research Ctr. (May 16, 2019), https://www.pewresearch.org/fact-
       tank/2019/05/16/facts-about-americans-and-facebook/.
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       nose, and ears, to create a face signature or map. The
       technology then compares the face signature to faces in
       Facebook’s database of user face templates (i.e., face
       signatures that have already been matched to the user’s
       profiles).2 If there is a match between the face signature and
       the face template, Facebook may suggest tagging the person
       in the photo.

           Facebook’s face templates are stored on its servers, which
       are located in nine data centers maintained by Facebook. The
       six data centers located in the United States are in Oregon,
       California, Iowa, Texas, Virginia, and North Carolina.
       Facebook’s headquarters are in California.

                                           B

           Facebook users living in Illinois brought a class action
       against Facebook, claiming that Facebook’s facial-
       recognition technology violates Illinois law. Class
       representatives Adam Pezen, Carlo Licata, and Nimesh Patel
       each live in Illinois. They joined Facebook in 2005, 2009,
       and 2008, respectively, and each uploaded photos to
       Facebook while in Illinois. Facebook created and stored face
       templates for each of the plaintiffs.

          The three named plaintiffs filed the operative
       consolidated complaint in a California district court in August
       2015. The plaintiffs allege that Facebook violated the Illinois
       Biometric Information Privacy Act (BIPA), 740 Ill. Comp.


           2
             According to Facebook, it creates and stores a template for a user
       when the user (1) has been tagged in at least one photo; (2) has not opted
       out of Tag Suggestions; and (3) satisfies other privacy-based and
       regulatory criteria.
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       Stat. 14/1 et seq. (2008), which provides that “[a]ny person
       aggrieved” by a violation of its provisions “shall have a right
       of action” against an “offending party,” id. 14/20. According
       to the complaint, Facebook violated sections 15(a) and 15(b)
       of BIPA by collecting, using, and storing biometric identifiers
       (a “scan” of “face geometry,” id. 14/10) from their photos
       without obtaining a written release and without establishing
       a compliant retention schedule.3


          3
              Sections 15(a) and (b) of BIPA provide:

                 (a) A private entity in possession of biometric
                 identifiers or biometric information must develop a
                 written policy, made available to the public,
                 establishing a retention schedule and guidelines for
                 permanently destroying biometric identifiers and
                 biometric information when the initial purpose for
                 collecting or obtaining such identifiers or information
                 has been satisfied or within 3 years of the individual’s
                 last interaction with the private entity, whichever occurs
                 first. Absent a valid warrant or subpoena issued by a
                 court of competent jurisdiction, a private entity in
                 possession of biometric identifiers or biometric
                 information must comply with its established retention
                 schedule and destruction guidelines.

                 (b) No private entity may collect, capture, purchase,
                 receive through trade, or otherwise obtain a person’s or
                 a customer’s biometric identifier or biometric
                 information, unless it first:

                     (1) informs the subject or the subject’s legally
                     authorized representative in writing that a
                     biometric identifier or biometric information is
                     being collected or stored;

                     (2) informs the subject or the subject’s legally
                     authorized representative in writing of the specific
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           The Illinois General Assembly enacted BIPA in 2008 to
       enhance Illinois’s “limited State law regulating the collection,
       use, safeguarding, and storage of biometrics.” 740 Ill. Comp.
       Stat. 14/5(e). BIPA defines a “biometric identifier” as
       including a “scan of hand or face geometry.” Id. 14/10.4 In
       a series of findings, the state legislature provided its views
       about the costs and benefits of biometric data use. The
       legislature stated that “[t]he use of biometrics is growing in
       the business and security screening sectors and appears to
       promise streamlined financial transactions and security
       screenings,” and also noted that “[m]ajor national
       corporations have selected the City of Chicago and other
       locations in this State as pilot testing sites for new
       applications of biometric-facilitated financial transactions.”
       Id. 14/5(a)–(b). Nevertheless, “[b]iometrics are unlike other
       unique identifiers that are used to access finances or other
       sensitive information,” because while social security numbers


                     purpose and length of term for which a biometric
                     identifier or biometric information is being
                     collected, stored, and used; and

                     (3) receives a written release executed by the
                     subject of the biometric identifier or biometric
                     information or the subject’s legally authorized
                     representative.

       740 Ill. Comp. Stat. 14/15 (a)–(b).
           4
              Section 10 of BIPA defines “biometric identifier” to mean “a retina
       or iris scan, fingerprint, voiceprint, or scan of hand or face geometry.”
       740 Ill. Comp. Stat. 14/10. Biometric identifiers do not include “writing
       samples, written signatures, photographs, human biological samples used
       for valid scientific testing or screening, demographic data, tattoo
       descriptions, or physical descriptions such as height, weight, hair color, or
       eye color.” Id.
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       can be changed if compromised by hackers, biometric data
       are “biologically unique to the individual,” and “once
       compromised, the individual has no recourse, is at heightened
       risk for identity theft, and is likely to withdraw from
       biometric-facilitated transactions.” Id. 14/5(c). Moreover,
       “[t]he full ramifications of biometric technology are not fully
       known.” Id. 14/5(f). The legislature concluded that “[t]he
       public welfare, security, and safety will be served by
       regulating the collection, use, safeguarding, handling, storage,
       retention, and destruction of biometric identifiers and
       information.” Id. 14/5(g).

           To further these goals, section 15 of BIPA imposes
       “various obligations regarding the collection, retention,
       disclosure, and destruction of biometric identifiers and
       biometric information” on private entities. Rosenbach v. Six
       Flags Entm’t Corp., — N.E.3d —, 2019 IL 123186, at *4 (Ill.
       2019). These requirements include “establishing a retention
       schedule and guidelines for permanently destroying biometric
       identifiers and biometric information” the earlier of three
       years after the individual’s last interaction with the private
       entity or “when the initial purpose for collecting or obtaining
       such identifiers or information has been satisfied.” 740 Ill.
       Comp. Stat. 14/15(a). The statute also requires the private
       entity to notify the individual in writing and secure a written
       release before obtaining a biometric identifier. Id. 14/15(b).
       BIPA also provides for actual and liquidated damages for
       violations of the Act’s requirements. Id. 14/20.

                                      C

           In June 2016, Facebook moved to dismiss the plaintiffs’
       complaint for lack of Article III standing on the ground that
       the plaintiffs had not alleged any concrete injury. While
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       Facebook’s motion to dismiss was pending, the plaintiffs
       moved to certify a class under Rule 23 of the Federal Rules
       of Civil Procedure. The district court denied Facebook’s
       motion to dismiss, and certified a Rule 23(b)(3) class of
       “Facebook users located in Illinois for whom Facebook
       created and stored a face template after June 7, 2011.”
       Facebook filed a timely petition for leave to appeal the
       district court’s ruling under Rule 23(f). Fed. R. Civ. P. 23(f)
       (providing that “[a] court of appeals may permit an appeal
       from an order granting or denying class-action certification
       under this rule”).

           We have jurisdiction to review the district court’s order
       granting class certification under 28 U.S.C. § 1292(e) and
       Rule 23(f) of the Federal Rules of Civil Procedure. We
       review de novo whether the plaintiffs have Article III
       standing. See In re Zappos.com, Inc., 888 F.3d 1020, 1024
       (9th Cir. 2018), as amended (Apr. 20, 2018). The party
       invoking federal jurisdiction bears the burden of establishing
       the elements of Article III jurisdiction. Lujan v. Defs. of
       Wildlife, 504 U.S. 555, 561 (1992). “At the pleading stage,
       general factual allegations of injury resulting from the
       defendant’s conduct may suffice,” and we “presume that
       general allegations embrace those specific facts that are
       necessary to support the claim.” Id. (quotation and alteration
       omitted).

                                     II

           To establish Article III standing, a plaintiff “must have
       suffered an ‘injury in fact’—an invasion of a legally protected
       interest which is (a) concrete and particularized; and
       (b) actual or imminent, not conjectural or hypothetical.” Id.
       at 560 (cleaned up). A plaintiff does not necessarily meet the
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       concrete injury requirement “whenever a statute grants a
       person a statutory right and purports to authorize that person
       to sue to vindicate that right.” Spokeo, Inc. v. Robins, 136 S.
       Ct. 1540, 1549 (2016), as revised (May 24, 2016) (Spokeo I).
       In other words, for Article III purposes, it is not enough for a
       plaintiff to allege that a defendant has violated a right created
       by a statute; we must still ascertain whether the plaintiff
       suffered a concrete injury-in-fact due to the violation.

           A concrete injury need not be tangible. “Although
       tangible injuries are perhaps easier to recognize, we have
       confirmed in many of our previous cases that intangible
       injuries can nevertheless be concrete.” Id. In determining
       whether an intangible injury is sufficiently concrete, we
       consider both history and legislative judgment. Id. We
       consider history because “it is instructive to consider whether
       an alleged intangible harm has a close relationship to a harm
       that has traditionally been regarded as providing a basis for a
       lawsuit in English or American courts.” Id. We must also
       examine legislative judgment because legislatures are “well
       positioned to identify intangible harms that meet minimum
       Article III requirements.” Id.

           The Supreme Court has provided some guidance for
       determining whether a plaintiff has suffered a concrete injury
       due to a defendant’s failure to comply with a statutory
       requirement. The violation of a statutory right that protects
       against “the risk of real harm” may be sufficient to constitute
       injury-in-fact, and under those circumstances a plaintiff “need
       not allege any additional harm beyond the one Congress has
       identified.” Id. (emphasis in original). But a violation of a
       statutory procedural requirement that does not present a
       material risk of harm, such as dissemination of “an incorrect
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       zip code,” likely does not cause a concrete injury. Id. at
       1550.

           In light of this guidance, we have adopted a two-step
       approach to determine whether the violation of a statute
       causes a concrete injury. We ask “(1) whether the statutory
       provisions at issue were established to protect [the plaintiff’s]
       concrete interests (as opposed to purely procedural rights),
       and if so, (2) whether the specific procedural violations
       alleged in this case actually harm, or present a material risk
       of harm to, such interests.” Robins v. Spokeo, Inc., 867 F.3d
       1108, 1113 (9th Cir. 2017) (Spokeo II).

           Other cases demonstrate these principles. In Van Patten
       v. Vertical Fitness Group, LLC, for instance, we considered
       a Telephone Consumer Protection Act (TCPA) requirement
       prohibiting a telemarketer from calling or texting a consumer
       without the consumer’s consent. 847 F.3d 1037, 1041–43
       (9th Cir. 2017). The plaintiff alleged that a telemarketer
       violated this prohibition. Id. at 1041. We held that the TCPA
       was established to protect the plaintiff’s substantive right to
       privacy, namely the right to be free from unsolicited
       telemarketing phone calls or text messages that “invade the
       privacy and disturb the solitude of their recipients.” Id. at
       1043. Because the telemarketer’s conduct impacted this
       privacy right, we concluded that the plaintiff did not need to
       allege any additional harm beyond the one Congress
       identified, and therefore had alleged a concrete injury-in-fact
       sufficient to confer Article III standing. Id.

           By contrast, in Bassett v. ABM Parking Services, Inc., we
       considered a Fair Credit Reporting Act (FCRA) requirement
       that businesses redact certain credit card information,
       including the card’s expiration date, on printed receipts.
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       883 F.3d 776, 777–78 (9th Cir. 2018). The plaintiff alleged
       that a parking garage had violated this requirement by giving
       him a receipt displaying his card’s full expiration date. Id.
       at 778. We held that even if the FCRA created a substantive
       right to the “nondisclosure of a consumer’s private financial
       information to identity thieves,” the parking garage’s failure
       to redact the credit card’s expiration date did not impact this
       substantive right, because no one but the plaintiff himself saw
       the expiration date. Id. at 782–83. We therefore concluded
       that the plaintiff had failed to allege a concrete injury-in-fact.
       Id. at 783.

           We apply our two-step approach to this case.

                                           A

           Facebook argues that the plaintiffs’ complaint describes
       a bare procedural violation of BIPA rather than injury to a
       concrete interest, and therefore plaintiffs failed to allege that
       they suffered an injury-in-fact that is sufficiently concrete for
       purposes of standing.5 Plaintiffs, in turn, argue that
       Facebook’s violation of statutory requirements amounted to
       a violation of their substantive privacy rights, and so they
       suffered a concrete injury for purposes of Article III standing.

           In addressing these arguments, we first consider “whether
       the statutory provisions at issue were established to protect
       [the plaintiff’s] concrete interests (as opposed to purely
       procedural rights).” Dutta v. State Farm Mut. Auto. Ins. Co.,
       895 F.3d 1166, 1174 (9th Cir. 2018) (alteration in original)
       (quoting Spokeo II, 867 F.3d at 1113). Privacy rights have

           5
             Facebook does not argue that the plaintiffs’ alleged injury-in-fact is
       insufficiently particularized.
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       long been regarded “as providing a basis for a lawsuit in
       English or American courts.” Spokeo I, 136 S. Ct. at 1549.
       The common law roots of the right to privacy were first
       articulated in the 1890s in an influential law review article
       that reviewed 150 years of privacy-related case law and
       identified “a general right to privacy” in various common law
       property and defamation actions. Samuel D. Warren & Louis
       D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 193, 198
       (1890). Courts subsequently recognized that a distinct right
       to privacy existed at common law, see, e.g., Pavesich v. New
       England Life Ins. Co., 50 S.E. 68, 69–71 (Ga. 1905), and
       treatises later identified four privacy torts recognized at
       common law, including “unreasonable intrusion upon the
       seclusion of another,”6 Restatement (Second) of Torts
       § 652A. Soon, “the existence of a right of privacy [was]
       recognized in the great majority of the American jurisdictions
       that have considered the question.” Restatement (Second) of
       Torts § 652A cmt. a.




            6
                The Restatement (Second) of Torts § 652A(2) (1977) provides:

                  The right of privacy is invaded by

                       (a) unreasonable intrusion upon the seclusion of
                       another, as stated in § 652B; or

                       (b) appropriation of the other’s name or likeness,
                       as stated in § 652C; or

                       (c) unreasonable publicity given to the other’s
                       private life, as stated in § 652D; or

                       (d) publicity that unreasonably places the other in
                       a false light before the public, as stated in § 652E.
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           The Supreme Court has likewise recognized the
       common law roots of the right to privacy. See U.S. Dep’t of
       Justice v. Reporters Comm. for Freedom of the Press, 489
       U.S. 749, 763 & n. 15 (1989) (recognizing the common law’s
       protection of a privacy right); Cox Broadcasting Corp. v.
       Cohn, 420 U.S. 469, 488 (1975) (noting that a right of
       privacy had been recognized at common law in the majority
       of American jurisdictions). We have also recognized the
       common law roots of the right to privacy. See Eichenberger
       v. ESPN, Inc., 876 F.3d 979, 983 (9th Cir. 2017) (“Violations
       of the right to privacy have long been actionable at common
       law.”); Van Patten, 847 F.3d at 1043 (“Actions to remedy
       defendants’ invasions of privacy, intrusion upon seclusion,
       and nuisance have long been heard by American courts, and
       the right of privacy is recognized by most states.”) (citing
       Restatement (Second) of Torts § 652B).

            These common law privacy rights are intertwined with
       constitutionally protected zones of privacy. See Gibson v.
       Fla. Legislative Investigation Comm., 372 U.S. 539, 569 n.7
       (1963) (Douglas, J., concurring) (“A part of the philosophical
       basis of [the First Amendment right to privacy] has its roots
       in the common law.”); see also Kyllo v. United States,
       533 U.S. 27, 34 (2001) (“[I]n the case of the search of the
       interior of homes—the prototypical and hence most
       commonly litigated area of protected privacy—there is a
       ready criterion, with roots deep in the common law, of the
       minimal expectation of privacy that exists, and that is
       acknowledged to be reasonable.” (emphasis in original)). As
       one commentator summed up, “[d]espite the differences
       between tort law and constitutional protections of privacy, it
       is still reasonable to view the interests and values that each
       protect as connected and related.” Eli A. Meltz, Note, No
       Harm, No Foul? “Attempted” Invasion of Privacy and the
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       Tort of Intrusion Upon Seclusion, 83 Fordham L. Rev. 3431,
       3437 (2015).

           In its recent Fourth Amendment jurisprudence, the
       Supreme Court has recognized that advances in technology
       can increase the potential for unreasonable intrusions into
       personal privacy. These concerns extend to sense-enhancing
       thermal imaging, see Kyllo, 533 U.S. at 34; GPS monitoring
       for extended periods of time, see United States v. Jones,
       565 U.S. 400, 416, 428 (2012) (Sotomayor, J., concurring,
       and Alito, J., concurring) (five justices agreeing that privacy
       concerns are raised by such monitoring, as later recognized in
       Carpenter v. United States, 138 S. Ct. 2206, 2215 (2018));
       modern cell phone storage of “vast quantities of personal
       information,” Riley v. California, 573 U.S. 373, 386 (2014);
       and technological advances in tracking cell-site location
       information, see Carpenter, 138 S. Ct. at 2215.
       Technological advances provide “access to a category of
       information otherwise unknowable,” id. at 2218, and
       “implicate privacy concerns” in a manner as different from
       traditional intrusions as “a ride on horseback” is different
       from “a flight to the moon,” Riley, 573 U.S. at 393.

           In light of this historical background and the Supreme
       Court’s views regarding enhanced technological intrusions on
       the right to privacy, we conclude that an invasion of an
       individual’s biometric privacy rights “has a close relationship
       to a harm that has traditionally been regarded as providing a
       basis for a lawsuit in English or American courts.” Spokeo I,
       136 S. Ct. at 1549. “[B]oth the common law and the literal
       understandings of privacy encompass the individual’s control
       of information concerning his or her person.” Reporters
       Comm., 489 U.S. at 763. As in the Fourth Amendment
       context, the facial-recognition technology at issue here can
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       obtain information that is “detailed, encyclopedic, and
       effortlessly compiled,” which would be almost impossible
       without such technology. Carpenter, 138 S. Ct. at 2216.
       Once a face template of an individual is created, Facebook
       can use it to identify that individual in any of the other
       hundreds of millions of photos uploaded to Facebook each
       day, as well as determine when the individual was present at
       a specific location. Facebook can also identify the
       individual’s Facebook friends or acquaintances who are
       present in the photo. Taking into account the future
       development of such technology as suggested in Carpenter,
       see 138 S. Ct. at 2216, it seems likely that a face-mapped
       individual could be identified from a surveillance photo taken
       on the streets or in an office building. Or a biometric face
       template could be used to unlock the face recognition lock on
       that individual’s cell phone. We conclude that the
       development of a face template using facial-recognition
       technology without consent (as alleged here) invades an
       individual’s private affairs and concrete interests. Similar
       conduct is actionable at common law.

            The judgment of the Illinois General Assembly, which is
       “instructive and important” to our standing inquiry, Spokeo
       II, 867 F.3d at 1112 (quotation omitted), supports the
       conclusion that the capture and use of a person’s biometric
       information invades concrete interests. As noted above, in
       enacting BIPA, the General Assembly found that the
       development and use of biometric data presented risks to
       Illinois’s citizens, and that “[t]he public welfare, security, and
       safety will be served by regulating the collection, use,
       safeguarding, handling, storage, retention, and destruction of
       biometric identifiers and information.” 740 Ill. Comp. Stat.
       14/5(g). Interpreting the statute, the Illinois Supreme Court
       concluded that “[t]he strategy adopted by the General
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       Assembly through enactment of [BIPA]” was to protect
       individuals’ “biometric privacy” by (1) “imposing safeguards
       to insure that individuals’ and customers’ privacy rights in
       their biometric identifiers and biometric information are
       properly honored and protected to begin with, before they are
       or can be compromised,” and (2) “by subjecting private
       entities who fail to follow the statute’s requirements to
       substantial potential liability.” Rosenbach, 2019 IL 123186,
       at *6–7. Based on this interpretation, the Illinois Supreme
       Court concluded that an individual could be “aggrieved” by
       a violation of BIPA whenever “a private entity fails to
       comply with one of section 15’s requirements,” because “that
       violation constitutes an invasion, impairment, or denial of the
       statutory rights of any person or customer whose biometric
       identifier or biometric information is subject to the breach.”
       Id. at *6. Individuals are not required to sustain a
       “compensable injury beyond violation of their statutory rights
       before they may seek recourse.” Id. at *7.

           Therefore, we conclude that “the statutory provisions at
       issue” in BIPA were established to protect an individual’s
       “concrete interests” in privacy, not merely procedural rights.
       Spokeo II, 867 F.3d at 1113.

                                      B

           We next turn to the question “whether the specific
       procedural violations alleged in this case actually harm, or
       present a material risk of harm to, such interests.” Spokeo II,
       867 F.3d at 1113. Facebook’s relevant conduct, according to
       the complaint, is the collection, use, and storage of biometric
       identifiers without a written release, in violation of
       section 15(b), and the failure to maintain a retention schedule
       or guidelines for destroying biometric identifiers, in violation
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       of section 15(a). The plaintiffs allege that a violation of these
       requirements allows Facebook to create and use a face
       template and to retain this template for all time. Because the
       privacy right protected by BIPA is the right not to be subject
       to the collection and use of such biometric data, Facebook’s
       alleged violation of these statutory requirements would
       necessarily violate the plaintiffs’ substantive privacy
       interests. As the Illinois Supreme Court explained, the
       procedural protections in BIPA “are particularly crucial in our
       digital world” because “[w]hen a private entity fails to adhere
       to the statutory procedures . . . the right of the individual to
       maintain his or her biometric privacy vanishes into thin air.”
       Rosenbach, 2019 IL 123186, at *6 (cleaned up).
       Accordingly, we conclude that the plaintiffs have alleged a
       concrete injury-in-fact sufficient to confer Article III
       standing.

           We reached a similar conclusion in Eichenberger, which
       considered whether a plaintiff had standing to bring a
       complaint alleging a violation of the Video Privacy Protection
       Act, which barred a videotape provider from knowingly
       disclosing “personally identifiable information concerning
       any consumer of such provider.” 876 F.3d at 983 (quoting
       18 U.S.C. § 2710(b)(1)). We concluded that the plaintiff had
       Article III standing because every unlawful disclosure of an
       individual’s personally identifiable information and video-
       viewing history offended the individual’s “substantive
       privacy interest in his or her video-viewing history.” Id.
       Under the common law, an intrusion into privacy rights by
       itself makes a defendant subject to liability. See Restatement
       (Second) of Torts § 652B. In other words, “privacy torts do
       not always require additional consequences to be actionable.”
       Eichenberger, 876 F.3d at 983 (citing Restatement (Second)
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       of Torts § 652B cmt. b); see also Van Patten, 847 F.3d at 1043.

            Given the nature of the alleged violation of BIPA,
       Facebook’s reliance on Bassett v. ABM Parking Services,
       Inc., 883 F.3d at 780, is misplaced. Although the parking
       service in that case technically violated the FCRA by failing
       to redact a credit card’s expiration date, that violation did not
       cause a disclosure of the consumer’s private financial
       information, the substantive harm the FCRA was designed to
       vindicate. Id. at 782–83. By contrast, Facebook’s alleged
       collection, use, and storage of plaintiffs’ face templates here
       is the very substantive harm targeted by BIPA. Because we
       conclude that BIPA protects the plaintiffs’ concrete privacy
       interests and violations of the procedures in BIPA actually
       harm or pose a material risk of harm to those privacy
       interests, see Dutta, 895 F.3d at 1174, the plaintiffs have
       alleged a concrete and particularized harm, sufficient to
       confer Article III standing.

                                      III

            We now turn to Facebook’s argument that the district
       court abused its discretion by certifying the class. We review
       a district court’s order granting class certification for abuse of
       discretion, Sali v. Corona Reg’l Med. Ctr., 909 F.3d 996,
       1002 (9th Cir. 2018), as amended (Nov. 27, 2018), but give
       the district court “noticeably more deference when reviewing
       a grant of class certification than when reviewing a denial,”
       Just Film, Inc. v. Buono, 847 F.3d 1108, 1115 (9th Cir. 2017)
       (quotation omitted). An error of law is “a per se abuse of
       discretion.” Sali, 909 F.3d at 1002 (quotation omitted). We
       review the district court’s findings of fact for clear error, and
       its legal conclusions de novo. See id.
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           First, Facebook urges that class certification is not
       compatible with Rule 23(b)(3) of the Federal Rules of Civil
       Procedure, which requires that “questions of law or fact
       common to class members predominate over any questions
       affecting only individual members.” Fed. R. Civ. P. 23(b)(3).
       According to Facebook, the Illinois extraterritoriality doctrine
       precludes the district court from finding predominance.

            The Illinois Supreme Court has held that it is a “long-
       standing rule of construction in Illinois” that “a ‘statute is
       without extraterritorial effect unless a clear intent in this
       respect appears from the express provisions of the statute.’”
       Avery v. State Farm Mut. Auto. Ins. Co., 835 N.E.2d 801, 852
       (Ill. 2005) (quoting Dur-Ite Co. v. Indus. Comm’n, 68 N.E.2d
       717, 722 (Ill. 1946)). In the absence of such an intent, an
       Illinois plaintiff may not maintain a cause of action under a
       state statute for transactions that took place outside of Illinois.
       Id. at 853. When a case is “made up of components that
       occur in more than one state,” plaintiffs may maintain an
       action only if the events that are necessary elements of the
       transaction occurred “primarily and substantially within”
       Illinois. Id. at 853–54.

            Facebook insists that the Illinois legislature did not intend
       for the BIPA to have extraterritorial effect, and in the absence
       of such an intent, a court would have to consider whether the
       relevant events at issue took place inside or outside Illinois.
       Facebook argues that its collection of biometric data and
       creation of a face template occurred on its servers outside of
       Illinois, and therefore the necessary elements of any violation
       occurred extraterritorially. At best, Facebook argues, each
       class member would have to provide individualized proof that
       events in that class member’s case occurred “primarily and
       substantially within” Illinois; for instance, that the member
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       was in Illinois when the scanned photo was taken or
       uploaded, when a facial recognition analysis was performed,
       when the photo was tagged or given a tag suggestion, or for
       similar events. Because the district court would have to
       conduct countless mini-trials to determine whether the events
       in each plaintiff’s case occurred “primarily and substantially
       within” Illinois, Facebook posits, common questions do not
       predominate, and the district court erred in certifying the
       class.

           We disagree.          The parties’ dispute regarding
       extraterritoriality requires a decision as to where the essential
       elements of a BIPA violation take place. The statute does not
       clarify whether a private entity’s collection, use, and storage
       of face templates without first obtaining a release, or a private
       entity’s failure to implement a compliant retention policy, is
       deemed to occur where the person whose privacy rights are
       impacted uses Facebook, where Facebook scans photographs
       and stores the face templates, or in some other place or
       combination of places. Given the General Assembly’s
       finding that “[m]ajor national corporations have selected the
       City of Chicago and other locations in this State as pilot
       testing sites for new applications of biometric-facilitated
       financial transactions,” 740 Ill. Comp. Stat. 14/5, it is
       reasonable to infer that the General Assembly contemplated
       BIPA’s application to individuals who are located in Illinois,
       even if some relevant activities occur outside the state. These
       threshold questions of BIPA’s applicability can be decided on
       a class-wide basis. If the violation of BIPA occurred when
       the plaintiffs used Facebook in Illinois, then the relevant
       events occurred “primarily and substantially” in Illinois, and
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       there is no need to have mini-trials on this issue.7 If the
       violation of BIPA occurred when Facebook’s servers created
       a face template, the district court can determine whether
       Illinois’s extraterritoriality doctrine precludes the application
       of BIPA. In either case, predominance is not defeated. And
       of course, if future decisions or circumstances lead to the
       conclusion that extraterritoriality must be evaluated on an
       individual basis, the district court can decertify the class. See
       Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 633
       (9th Cir.1982) (“[A] district court’s order respecting class
       status is not final or irrevocable, but rather, it is inherently
       tentative.”); see also Fed. R. Civ. P. 23(c)(1)(C) (“An order
       that grants or denies class certification may be altered or
       amended before final judgment.”).

           Second, Facebook argues that the district court abused its
       discretion by certifying the class because a class action is not
       superior to individual actions. “Rule 23(b)(3) requires that a
       class action be ‘superior to other available methods for fairly
       and efficiently adjudicating the controversy,’ and it
       specifically mandates that courts consider ‘the likely
       difficulties in managing a class action.’” Briseno v. ConAgra
       Foods, Inc., 844 F.3d 1121, 1127–28 (9th Cir. 2017) (quoting
       Fed. R. Civ. P. 23(b)(3)(D)). According to Facebook, the
       possibility of a large, class-wide statutory damages award
       here defeats superiority.

          We disagree. The question “whether the potential for
       enormous liability can justify a denial of class certification
       depends on [legislative] intent.” Bateman v. Am. Multi-


           7
              The district court found that this case involves only plaintiffs who
       are located in Illinois, and the claims are based on the application of
       Illinois law to the use of Facebook mainly in Illinois.
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       Cinema, Inc., 623 F.3d 708, 722 (9th Cir. 2010). Where
       neither the statutory language nor legislative history indicates
       that the legislature intended to place a cap on statutory
       damages, denying class certification on that basis would
       “subvert [legislative] intent.” Id. at 722–23; cf. Kline v.
       Coldwell, Banker & Co., 508 F.2d 226, 228, 235 (9th Cir.
       1974) (holding that a potential liability of $750 million under
       the Sherman Act would be inconsistent with congressional
       intent in enacting the statutory damages provision because
       treble damages were “not remedial” but “punitive”). Here,
       nothing in the text or legislative history of BIPA indicates
       that a large statutory damages award would be contrary to the
       intent of the General Assembly. Therefore, the district court
       did not abuse its discretion in determining that a class action
       is superior to individual actions in this case. See Fed. R. Civ.
       P. 23(b)(3).8

            AFFIRMED.




            8
              In its brief on appeal, Facebook also argued that only a “person
       aggrieved” by a BIPA violation could bring a private cause of action, and
       therefore the plaintiff must allege some harm beyond a violation of the
       statute itself. Facebook claimed that because each plaintiff must allege
       such individualized harms, predominance under Rule 23 of the Federal
       Rules of Civil Procedure was defeated. Because Facebook’s interpretation
       of BIPA was rejected by the Illinois Supreme Court, see Rosenbach, 2019
       IL 123186, at *4, which was decided after the briefing in this case, this
       argument is foreclosed.
